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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                LUFKIN DIVISION

JANE SFA-CM DOE                          §
         Plaintiff                       §
                                         §
vs.                                      §
                                         §    C.A. No. ________________
STEPHAN F. AUSTIN                   §
STATE UNIVERSITY                    §
     Defendant                      §
________________________________________________________________________

                        PLAINTIFF’S ORIGINAL COMPLAINT

         COMES NOW, Plaintiff “JANE SFA-CM DOE” to file her “Plaintiff’s

Original Complaint” as follows:

                                      PREAMBLE
              BUSINESS STUDENT EXPELLED DUE TO DISABILITIES
         Plaintiff Jane was a student at Stephen F. Austin seeking advancement of her
educational and employment opportunities when she was essentially expelled because of
her severe physical disabilities. Lacking only ten courses towards completion of her
Business Degree, Jane was suspended and then blocked from re-entry into Stephen F.
Austin because her physical disabilities were simply too much trouble for Stephan F.
Austin to want to deal with. This is a suit for damages and equitable relief as to the
discrimination suffered by Jane because of her disabilities.


                              A. NATURE OF THE SUIT

         1.       Plaintiff Jane (defined hereafter) is a female with sever physical

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Disabilities (defined hereafter) which limit Jane to the use of a wheelchair. Being

fully cognizant of Jane’s Disabilities, Defendant SFA (defined hereafter) accepted

Jane into Defendant’s business program. However, as Jane proceeded with her

studies, Defendant SFA ultimately decided that trying to deal with Jane’s Disabilities

was simply a problem Defendant no longer wished to bear.

         2.       As a result, Defendant suspended Plaintiff Jane during the Fall semester

of 2017, assigned the grades of F to all of Jane’s classes in December 2017, cut Jane’s

digital access to Defendant, and continues to prevent Jane from digital access to

Jane’s records and admissions efforts.

         3.       Plaintiff Jane has been left with no choice but to file this Complaint for

damages and equitable relief. Plaintiff Jane now files this original action for damages

and equitable relief pursuant to:

                  (a)   Section 504 of the Rehabilitation, Comprehensive
                        Services, and Developmental Disabilities Act of 1978, 29
                        U.S.C. § 794;

                  (b)   Title II of the Americans with Disabilities Act, 42
                        U.S.C.A. §§ 12131–50 (2011); and

                  (c)   42 U.S.C. § 1983 with regards to:

                               Defendant’s denial (under the color of law) of
                               Plaintiff Jane’s equal protection, procedural due
                               process violations, and substantive due process

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                              rights granted by the Fourteenth Amendment to the
                              U.S. Constitution.

                                       B.   PARTIES

         4.       Plaintiff “JANE SFA-CM DOE” (“Jane”) is an individual residing in

the State of Texas. Because of the privacy issues involved in this matter and the real

and eminent threat of further retaliation by Defendant and others because of Jane’s

Disabilities, Jane is hereby exercising her rights to proceed with this matter

anonymously.

         5.       The need to protect the identity of Plaintiff Jane does not hinder the

defense of this matter by Defendant, for the facts are well known to the Defendant.

When applying the applicable tests (created by jurisprudence applicable to this Court)

to balance the needed protection of privacy versus any inconvenience to the

Defendant, the protection of Jane’s privacy prevails.

         6.       At such time as the Court might agree on procedures designed (a) to

protect the privacy of Plaintiff Jane (including the adoption of an appropriate

protective order), and (b) to protect Plaintiff Jane from further retaliation, Jane’s

identity shall be disclosed to Defendant,

         7.       Defendant STEPHAN F. AUSTIN STATE UNIVERSITY (“SFA”) is

a public university operating in the State of Texas that receives grants and other

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funding from the United States and may be served with summons by serving its

President as follows:

                              STEPHAN F. AUSTIN STATE UNIVERSITY
                                    c/o Scott Gordan, President
                                         1936 North Street
                                     Nacogdoches, Texas 75962

                              C. JURISDICTION and VENUE

         8.       The jurisdiction of this Court is in accordance with 28 U. S. C. § 1331

as involving a federal question proceeding arising under:

                        (a)    Section 504 of the Rehabilitation, Comprehensive
                               Services, and Developmental Disabilities Act of
                               1978, 29 U.S.C. § 794 (“Section 504”);

                        (b)    Title II of the Americans with Disabilities Act, 42
                               U.S.C.A. §§ 12131–50 (2011) (“ADA”); and

                        (c)    §1983 of Title 42 of U.S.C. (“Section 1983”).

         9.       Venue is proper in the Eastern District of Texas (Lufkin Division)

because Defendant SFA operates in, and from, Nacogdoches, Nacogdoches County,

Texas (which is within the Eastern District of Texas), and the underlying events took

place in Nacogdoches, Nacogdoches County, Texas which is within the Lufkin

Division of the Eastern District of Texas.




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                              D. FACTUAL ALLEGATIONS

                                   Who is Plaintiff Jane?

         10.      Plaintiff Jane is a woman who has striven her entire life to achieve

personal and professional success despite Jane having Reflex Sympathetic Dystrophy

and L4 Incomplete Spinal Cord Injury, resulting in Jane’s confinement to a

wheelchair for any mobility (collectively hereafter, “Jane’s Disabilities”).

         11.      Upon her admission to Defendant SFA, Plaintiff Jane properly

registered with Defendant as a student with disabilities qualifying as recognized

disabilities under Section 504 and the ADA. As such, Defendant SFA was well aware

of Jane’s Disabilities, and Defendant’s duties to make necessary accommodations for

Jane’s educational attendance.

                             Defendant’s Actions towards Jane.

         12.      Notwithstanding that Section 504 and the ADA require Plaintiff Jane be

granted certain accommodations to facilitate Jane’s educational needs in the context

of Jane’s Disabilities, Defendant SFA did nothing meaningful to assist Jane, but

instead went out of its way to make matters harder for Jane.

         13.      With regards to Plaintiff Jane’s Disabilities, Defendant SFA:

                  a.    required Jane’s class attendance in rooms which were not

                        suitable to Jane’s use of her wheelchair;
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                  b.   refused to provide Jane any physical, assistance to

                       maneuver into and out of the rooms and hallways of

                       Defendant;

                  c.   required Jane to attempt attending meetings only

                       accessible by stairs;

                  d.   watched with indifference as other students attending

                       Defendant SFA ridiculed and bullied Jane because of

                       Jane’s Disabilities;

                  e.   joined in the ridicule and bullying of Jane as Jane

                       attempted to exert her rights as a 504 student attending

                       Defendant;

                  f.   decided to suspend Jane because of Jane’s continued

                       expressions of her dissatisfaction as to Defendant’s refusal

                       to accommodate Jane’s Disabilities;

                  g.   banned Jane from the campus of Defendant;

                  h.   removed all of Jane’s digital access to Defendant;

                  i.   in December 2017, issued grades of Fs for all of Jane’s

                       Fall classes;


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                  j.    continues to refuse to assist Jane in Jane’s effort to regain

                        enrollment with Defendant; and

                  k.    refuses to allow Jane access to the Defendant’s records

                        which would be required for Jane to transfer to a separate

                        college and finish her degree.

For the purposes hereof, Defendant’s foregoing acts and omissions shall be

collectively referred to hereafter as the “Actions Against Jane.”

                                        Harm to Jane.

         14.      The harm done to Plaintiff Jane as a result of Defendant SFA’s Actions

Against Jane have been devastating to Jane, personally, physically, and

professionally.

         15.      Plaintiff Jane has suffered severe emotional and economic harm as a

result of the SFA’s Actions Against Jane and shall suffer future physical, emotional,

and economic harm.

         16.      Further, SFA’s Actions Against Jane were unconscionable, intentional,

and made in bad faith with full knowledge that the damage to Plaintiff Jane would

follow Jane for the rest of her life, and represent actions of deliberate indifference to

Jane.


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                     Defendant’s Action Under the Color of State Law.

         17.      The administrators participating in Defendant SFA’s Actions Against

Jane are the applicable policy makers of Defendant SFA, or, were individuals

assigned by such policymakers, and were implementing the policies and customs of

Defendant SFA.

         18.      Further, if such policies are not, in fact written, each of the

administrators participating in Defendant SFA’s Actions Against Jane (as applicable

policymakers, or, as individuals assigned by such policymakers) were implementing

the policies and customs of Defendant SFA in accord with the customs and practices

of Defendant SFA.

                                  Administrative Remedies.

         19.      There are no administrative remedy preconditions (“Preconditions”)

required prior to seeking relief under the laws being invoked herein by Plaintiff Jane.

Even if such Preconditions did exist, the actions of Defendant have shown that such

efforts would be utterly futile.

         20.      As a result of Defendant SFA’s Actions Against Jane, Plaintiff Jane was

forced to engage an attorney and pursue this action to redress such wrongs.

         21.      All conditions precedent to Plaintiff Jane bringing these claims have

been met.
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                         E. PLAINTIFF’S CAUSE OF ACTION

         22.      Plaintiff Jane incorporates by reference the facts set forth in Article D:

FACTUAL ALLEGATIONS hereof.

                            COUNT ONE: SECTION 504 VIOLATIONS

         23.      As a public university operated in the State of Texas that receives grants

and other funding from the United States, Defendant SFA falls under the jurisdiction

and requirements of Section 504.

         24.      As mandated by Section 504, Defendant SFA is prohibited from

discriminating against students having been diagnosed with various disabilities.

         25.      Plaintiff Jane’s Disabilities qualify as disabilities covered by Section

504, and Defendant SFA’s Actions Against Jane are direct violations of Section 504.

         26.      Defendant SFA’s Actions Against Jane in violation of Section 504

have caused Plaintiff Jane to suffer a loss of educational benefits and created economic

losses, including all actual, consequential, continuing, and future compensatory

damages, for which Plaintiff Jane now sues in accord with Section 504.

         27.      Defendant SFA’s Actions Against Jane in violation of Section 504

have caused Plaintiff Jane to suffer mental and emotional distress and damages,

including all actual, consequential, continuing, and future compensatory damages, for

which Plaintiff Jane now sues in accord with Section 504.
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         28.      Defendant SFA’s Actions Against Jane have been so spiteful that such

Actions constitute deliberate indifference as to Plaintiff Jane and Jane’s Disabilities.

                            COUNT TWO: ADA VIOLATIONS

         29.      As a public university operated in the State of Texas that receives grants

and other funding from the United States, Defendant SFA falls under the jurisdiction

and requirements of the ADA.

         30.      As mandated by the ADA, Defendant SFA is prohibited from

discriminating against students having been diagnosed with various disabilities.

         31.      Plaintiff Jane’s Disabilities qualify as disabilities covered by the ADA,

and Defendant SFA’s Actions Against Jane are direct violations of the ADA.

         32.      Defendant SFA’s Actions Against Jane in violation of the ADA have

caused Plaintiff Jane to suffer a loss of educational benefits and created economic

losses, including all actual, consequential, continuing, and future compensatory

damages, for which Plaintiff Jane now sues in accord with the ADA.

         33.      Defendant SFA’s Actions Against Jane in violation of the ADA have

caused Plaintiff Jane to suffer mental and emotional distress and damages, including

all actual, consequential, continuing, and future compensatory damages, for which

Plaintiff Jane now sues in accord with the ADA.


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         34.      Defendant SFA’s Actions Against Jane have been so spiteful that such

Actions constitute deliberate indifference as to Plaintiff Jane and Jane’s Disabilities.

                               COUNT THREE: SECTION 1983

         35.      Section 1983 of Title 42 of the United States Code provides, in part,:

                       “Every person who under color of any statute, ordinance,
                       regulation, custom, or usage, of any State…subjects, or
                       causes to be subjected, and citizen of the United States…to
                       the deprivation of any rights, privileges, or immunities
                       secured by the Constitution and laws, shall be liable to the
                       part injured in an action at law, suit in equity, or other
                       proper proceeding for redress…”

         36.      The administrators implementing Defendant SFA’s Actions Against

Jane were state actors, exercising their delegated duties acting under the color of state

law while committing SFA’s Actions Against Jane and resulted in the violation of

Plaintiff Jane’s rights under:

                  a.       Section 504;

                  b.       the ADA;

                  c.       the procedural due process requirements of the United States
                           Constitution as set forth in the Fourteenth Amendment, in
                           violation of Jane’s Property Rights;

                  d.       the substantive due process requirements of the United States
                           Constitution set forth in the Fourteenth Amendment in violation
                           of Jane’s Property Rights; and


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                  e.   the equal protection requirements of the United States
                       Constitution set forth in the Fourteenth Amendment in violation
                       of Jane’s Property Rights.

         37.      Under the Fourteenth Amendment to the Constitution of the United

States, Plaintiff Jane has the right, as a student attending a publicly funded university,

to be free from the SFA’s Actions Against Jane.

         38.      Because of the SFA’s Actions Against Jane, Plaintiff Jane has been

denied her guaranteed equal protection, procedural due process, and substantive due

process rights as set forth in the Fourteenth Amendments. As a result of such

violations, Defendant have violated Jane’s right under 42 U.S.C. § 1983 (hereafter,

“Section 1983 Violations”).

         39.      Plaintiff Jane has suffered economic, emotional distress, and

psychological damage to Jane’s character, prestige, standing in Jane’s community as

well as a loss of benefits and opportunities as a direct and proximate result of

Defendant’s Section 1983 Violations as to Plaintiff Jane.

         40.      Although the Eleventh Amendment to the United States Constitution

prevents Plaintiff Jane from seeking financial damages against Defendant SFA for

Defendant SFA’s Section 1983 Violations, Section 1983 does allow Jane to seek

equitable relief, which Jane does now seeks, including but not being limited to:


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                  (a)   reinstatement of Plaintiff Jane as a student with Defendant
                        SFA;

                  (b)   requiring Defendant SFA to strike from its records all
                        negative information, emails, evaluations, and materials as
                        to Plaintiff Jane; and

                  (c)   the removal from all of Plaintiff Jane’s records at
                        Defendant SFA which indicate Plaintiff Jane was ever the
                        subject of any disciplinary matter while attending
                        Defendant SFA.

For the purposes hereof, the equitable relief set forth in Subparagraphs (b) and (c)

shall be collectively referred to as “Expungement”).

                        COUNT FOUR: PUNITIVE DAMAGES

         41.      Defendant SFA’s Actions Against Jane in violation of Section 504 and

the ADA were unconscionable, intentional and willful, or at a minimum, were

committed with a lack of regard for, or with reckless indifference to, Plaintiff Jane’s

federally protected rights, thereby entitling Plaintiff Jane to punitive damages pursuant

to Section 504 and the ADA, for which Plaintiff Jane now seeks.

                               COUNT FIVE: ATTORNEYS’ FEES

         42.      Plaintiff Jane should be awarded her reasonable and necessary

attorneys’ fees incurred in relation to the foregoing as allowed by applicable law.




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                      COUNT SIX: POST JUDGMENT INTEREST

         43.      Plaintiff Jane also requests post judgment interest as may be allowed by

applicable law.

                                 F. REQUEST FOR JURY

         44.      Plaintiff Jane hereby requests that a jury be empaneled, and, that the

foregoing causes of actions and requests for relief be presented to such jury for

resolution.

                                G. PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Jane prays that: summons be issued upon

Defendant; upon final trial hereof, that judgment be entered in favor of Plaintiff Jane

for the actual, consequential, and exemplary damages set forth herein including post

judgment interest; Plaintiff Jane be granted Jane’s equitable relief requested,

including the Expungement; Plaintiff Jane be reimbursed Jane’s reasonable and

necessary attorneys’ fees required to bring this matter; that all costs of Court be taxed

against Defendant; and that Plaintiff Jane have such further and other relief, general

and special, both at law or in equity, to which Jane may show herself to be justly

entitled.




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         Respectfully submitted,

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